                        'IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:19-CV-430-BO


 U.S. TOBACCO COOPERATIVE, INC.,                )
                 Plaintiff,                     )
                                                )
 v.                                             )                     ORDER
                                                )
  CERTAIN UNDERWRITERS AT                       )
  LLOYD'S SUBSCRIBING TO POLICY                 )
. NUMBERS B1353DC1703690000 and                 )
  B1353DC1602041000,                            )
                   Defendants.                  )


        This cause comes before the Court on plaintiffs motions for partial summary judgment

 and to compel and defendants' motion for protective order. The appropriate responses and replies

 have been filed, and a hearing on the matters was held before the undersigned on August 7, 2020,

 at Raleigh, North Carolina. Also pending are motions to seal and to amend/correct the scheduling

 order. In this posture, these matters are ripe for adjudication.

                                           BACKGROUND

        Plaintiff filed this case in Wake County Superior Court and it was removed to this Court

on the basis of its diversity jurisdiction. It is an insurance coverage dispute arising out of the

alleged failure of defendants to honor their policy obligations for over $10 million in losses that

plaintiff sustained after water from Hurricane Matthew in October 2016 ruined tobacco product

stored in plaintiffs Fuquay-Varian warehouses. The complaint alleges four claims for relief:

declaratory judgment, breach of contract, bad faith, and unfair and deceptive trade practices.

        Plaintiff now seeks partial summary judgment in its favor on its request for declaratory

judginent and its breach of contract claim, as well as on defendants' ninth and tenth affirmative

defenses. Plaintiff also seeks to compel defendants to provide certain discovery and find that



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      <;lefendants' objections to discovery are waived. Finally, defendants seek a protective order to

     preclude plaintiff from deposing the Following Market.

                                                DISCUSSION

     I.·       Motion for partial summary judgment.

               A motion for summary judgment may not be granted unless there are no genuine issues

     of material fact for trial and the movant is entitled to judgment as a matter oflaw. Fed. R. Civ. P.

     56(a). The moving party bears the initial burden of demonstrating the absence of a genuine issue

     of m.aterial fact. Celotex Corp. v. Catrett, 477 U.S. 317,323 (1986). If that burden has been met,

     the rion-moving party must then come forward and establish the specific material facts in dispute

     to survive summary judgment. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

    - 588 (1986). In determining whether a genuine issue of material fact exists for trial, a trial court

     views the evidence and the inferences in the light most favorable to the nonmoving party. Scott v.

     Harris, 550 U.S. 372, 378 (2007). "A dispute is genuine if a reasonable jury could return a

     verdict for the nonmoving party.... and [a] fact is material if it might affect the outcome of the

     suit under the governing law." Libertarian Party of Virginia v. Judd, 718 F.3d 308, 313 (4th Cir.

    2013) (internal quotations and citations omitted).

               Plaintiff seeks entry of summary judgment in its favor based upon defendants' late
.     .    .



    _ ~esponses to plaintiffs requests for admission and upon what it deems as admissions of the

     following facts: that the policies at issue provide coverage for damage to plaintiffs tobacco

.-• ' .product causecl by any external cause; that moisture and water damage are external causes as that

     term is defined, and that there are no exclusions in the policies barring coverage for moisture,

    -mold, or water damage.




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          Rule 36 of the Federal Rules of Civil Procedure provides that a matter is deemed

  admitted unless the party to whom the request for admission is addressed serves the requesting

  party a written answer or objection within thirty days. Fed. R. Civ. P. 36(a)(3). Once a matter is

  deemed admitted under Rule 36, it is "conclusively established" unless ruled otherwise by the

 .Court. Fed. R. Civ. P. 36(b). Such conclusively established admissions suffice to support

  summary judgment. See Adventis, Inc. v. Consol. Prop. Holdings, Inc., 124 F. App'x. 169, 173

  (4th Cir. 2005) (quoting Langer v. Monarch Life Ins. Co., 966 F.2d 786, 803 (3rd Cir. 1992)).

          Here, defendants agree that they did not timely respond to plaintiff's requests for

  admission. However, defendants contend that they deposited their responses in the mail one day

  after the deadline, and that because they have, in fact, responded, plaintiff's requests for

  admission should not be deemed admitted. In their response to plaintiffs statement of undisputed

· facts, defendants admit that their responses to plaintiff's requests for admission were served late

 ·but µeny the substance of plaintiffs request for admissions. See [DE 61 at 13]; [DE 24-10].

         · It is within the Court's discretion whether to deem requests for admission admitted.

 Nguyen v. CNA Corp., 44 F.3d 234, 243 (4th Cir. 1995). Here, the lateness of the response was

· minimal and plaintiff has failed to demonstrate sufficient prejudice which would overcome the

 interest in having cases decided on their merits. See, e.g., Kress V. Food Employers Labor

 RelationsAss'n, 285 F. Supp. 2d 678, 681 (D. Md. 2003); Letren v. Trans Union, LLC, No. CV

 PX 15-3361, 2017 WL 445237, at *6 (D. Md. Feb. 2, 2017). Defendants have asked that the

 Court deem their responses to plaintiffs request for admissions timely, which the Court will do.

· ·Fed. R. ci~. P. 36(b).

         Because its motion for summary judgment is predicated on defendants' admissions,

 plaintiff's motion for partial summary judgment is denied without prejudice to refiling



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 dispositive motions in accordance with the scheduling order. However, the Court cautions

 defendants to fully comply with the deadlines imposed by the Court and the Federal Rules of

  Civil Procedure going forward.

 IL      Motion to compel.

         Plaintiff seeks an order finding that defendants have waived discovery objections and

 ordering defendants to provide the information requested by plaintiff in its motion to compel,

 including responding fully to plaintiff's first set of requests for production, first set of requests

 for admission, first set of interrogatories, and supplementing defendant's initial disclosures.

· Plaintiff's seek an award of all fees and costs associated with the filing of the motion to compel.

         First, the motion for leave to file a reply brief in support of the motion to compel [DE 43]

 is allowed. Second, the motion to compel was filed in April 2020, the parties have engaged in

 months of discovery since that time, and, as discussed below, the Court will allow the parties'

 joint motion to extend discovery deadlines. Accordingly, at this time, the Court denies the

· inotipn to compel without prejudice and with the following caution to all parties, in particular

 defendants: legitimate discovery requests are to be complied with if sanctions are to be avoided.

 III.    Motion for protective order.

        Defendants have filed a protective order seeking to preclude plaintiff from deposing the
    .       '


 Following Market. For the reasons discussed below, this motion is granted.

        Under the two Marine Stock Throughput Insurance Policies at issue, one slip is led by

 AEGIS London on behalf of Syndicate 1225, which has already been deposed. Regarding the

· second slip, there are two Syndicates which together are the Lead Insurer, a Syndicate which is

 the agreement party, and then nine additional Syndicates which together are referred to as the
. Following Market. Defendants ask the Court to protect the Following Market syndicates from



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 being deposed as they have accepted nominal risk and are bound by the Lead Insurer. Defendants

 argue that deposition testimony by representatives of the Following Market would be duplicative

 and unduly burdensome.

         Discovery that is unreasonably cumulative or duplicative, or which can be obtained from

 some other more convenient source, should be limited. Fed. R. Civ. P. 26(b)(2)(C). Further,

 litigants are protected upon a showing of good cause from having to provide discovery that

 would cause, inter alia, undue burden or expense. Fed. R. Civ. P. 26(c).

        "[T]he 'unique characteristics' of the London Insurance Market do not excuse production

 of relevant, non-privileged documents." Teck Metals, Ltd v. London Mkt. Ins., No. CV-05-411-

 LRS, 2010 WL 4813813, at *1 (E.D. Wash. Sept. 10, 2010), report and recommendation

 adopted in part sub nom. Teck Metals, Ltd. v. Certain Underwriters at Lloyd's, London, No. CV-

 05-4t 1-LRS, 2010 WL 4813844 (E.D. Wash. Nov. 19, 2010). In this case, however, the Lead

 Insurers either have or will be deposed and the Following Market is undisputedly bound by the

 Lead Insurers. Holmes Aff. ,r 6. The Following Market also has been and continues to be in

_agreement with the Lead Insurer in all respects. Id. ,r 7.

        Plaintiff contends that it does not oppose reaching an agreement with defendants on

limiting the number of depositions, but that it has received no discovery from the Following

Market, even though defendant carries the burden of proving that exclusions apply if they want

to escape their coverage obligations.

        Defendants have made a sufficient showing that the information plaintiffs seek can and

will be obtained through the less burdensome avenue of deposing the Lead Insurers and that the

·deposition discovery in this case should be limited accordingly. See, e.g, Certain Underwriters (;It

Lioyd's v. Nat'! R.R. Passenger Corp., 318 F.R.D. 9, 15 (E.D.N.Y. 2016). The motion for



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 protective order [DE 47] is granted. This relief is limited to protecting the Following Market

 syndicates from participating in depositions, as that is the only relief sought by defendants.

 IV.     Motions to seal.

         Plaintiff and defendants seek to seal several memoranda and exhibits filed because they

 contain confidential and/or proprietary information not generally available to the public, or

 contain information marked confidential by the other party. See Policy Manual§ V(G)(l)(e). The

 parties' business and proprietary concerns are sufficient grounds to allow the sealing of these

 documents, especially where, as here, the parties have filed publicly available redacted versions.

 For these reasons, the motions to seal [DE 26; 41; 62] are granted.

         However, the Court would note that, although there is information which the parties

 would prefer to keep private for competitive and market reasons, this is a public matter which

. will have, if necessary, a public trial. Any orders entered by the Court will be publicly available

 and will, to the extent necessary, refer to the relevant policy provisions. The parties are cautioned

. to limit their requests to seal and their use of redactions in any motions practice going forward.

 V.      Consent motion to amend/correct scheduling order.

         The parties have demonstrated good cause for amending the scheduling order. Their

 motion [DE 64] is granted with the following amendment: Plaintiffs Rule 26(a)(2) expert

• disclosures shall be due not later than October 15, 2020. All other deadlines proposed by the

:parties are adopted.

                                           CONCLUSION

        For the foregoing reasons, plaintiffs motion for partial summary judgment [DE 19] is

 DENIED WITHOUT PREJUDICE; plaintiffs motion to compel [DE 28] is DENIED

 WITHOUT PREJUDICE; plaintiffs motion for leave to file a reply brief [DE 43] is GRANTED;



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defendants' motion for protective order [DE 47] is GRANTED; the parties' consent motion to

amend/correct the scheduling order [DE 64] is GRANTED; and the motions to seal [DE 26; 41;

62] are GRANTED.




SO ORDERED, this   _J_ day of October, 2020.


                                          ERRENCE W. BOYLE
                                         CHIEF UNITED STATES DISTRICT




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